                Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 1 of 13




 1                                                              The Honorable Barbara J. Rothstein

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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT SEATTLE
 9 PARLER LLC,

10                                      Plaintiff,        No. 2:21-cv-00031-BJR
11            v.                                          DEFENDANT AMAZON WEB
                                                          SERVICES, INC.’S OPPOSITION
12 AMAZON WEB SERVICES, INC.,                             TO PARLER LLC’S MOTION
                                                          FOR TEMPORARY
13                                      Defendant.        RESTRAINING ORDER
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     OPPOSITION TO MOTION FOR TEMPORARY
                                                                           Davis Wright Tremaine LLP
     RESTRAINING ORDER (No. 2:21-cv-00031-BJR) - 1                                  L AW O FFICE S
     4813-5403-5670v.5 0050033-000653                                         920 Fifth Avenue, Suite 3300
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                Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 2 of 13




 1                                          I. INTRODUCTION
 2            This case is not about suppressing speech or stifling viewpoints. It is not about a

 3 conspiracy to restrain trade. Instead, this case is about Parler’s demonstrated unwillingness and

 4 inability to remove from the servers of Amazon Web Services (“AWS”) content that threatens

 5 the public safety, such as by inciting and planning the rape, torture, and assassination of named

 6 public officials and private citizens. There is no legal basis in AWS’s customer agreements or

 7 otherwise to compel AWS to host content of this nature. AWS notified Parler repeatedly that its

 8 content violated the parties’ agreement, requested removal, and reviewed Parler’s plan to address
 9 the problem, only to determine that Parler was both unwilling and unable to do so. AWS

10 suspended Parler’s account as a last resort to prevent further access to such content, including

11 plans for violence to disrupt the impending Presidential transition.

12            Despite Parler’s rhetoric, its lawsuit is no more than a meritless claim for breach of

13 contract. But the facts are unequivocal: If there is any breach, it is Parler’s demonstrated failure

14 and inability to identify and remove such content. AWS was well within its rights to suspend

15 Parler immediately for those failures. Parler also cannot hold AWS liable in tort for enforcing

16 the agreement’s express terms. And there is no antitrust claim where, as here, Parler cannot

17 plausibly plead an agreement to cause it harm and the complained-of conduct is undeniably

18 compatible with a legitimate purpose.
19            Compelling AWS to host content that plans, encourages, and incites violence would be

20 unprecedented. Parler has no likelihood of prevailing on the merits, and the balance of equities

21 and public interest strongly tip against an injunction. The motion for a temporary restraining

22 order should be denied.

23                                      II. FACTUAL BACKGROUND
24            A.        Parler Conducts the “Absolute Minimum” of Content Moderation.1
25            Parler operates a social media service that has gained favor as an alternative to Facebook

26 and Twitter. Doran Decl. Ex. A. Parler prides itself on its hands-off approach to moderating

27   1
         Declaration of Ambika Doran Ex. B.
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                Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 3 of 13




 1 user content. Parler’s homepage tells users to “[s]peak freely and express yourself openly,

 2 without fear of being ‘deplatformed’ for your views.” Id. In interviews, Parler’s CEO has stated

 3 he “do[es]n’t think it’s [Parler’s] obligation to” monitor the full range of it users’ content, Doran

 4 Decl. Ex. O, and promoted the service’s laissez-faire philosophy on content moderation. See id.

 5 Ex. D (“If you can say it on the street of New York, you can say it on Parler”); id. Ex. E at 4:48

 6 (“[W]hat we’ve decided to do is, let’s just not do any curation, no fact checking, let people do

 7 that on their own ....”); id. at 5:42 (attributing Parler’s projected growth to not moderating

 8 content as other social media services do); id. Ex. C at 2:02 (stating “we really don’t want to get
 9 into the business of kind of determining what is and is not allowed to be discussed”).

10            B.        Parler Enters an Agreement with AWS for Web Hosting Services.
11            On June 12, 2018, Parler signed up with AWS, which provides hosting and cloud

12 computing services for businesses, nonprofits, and government organizations globally.

13 Declaration of Amazon Executive 2 ¶ 3. Parler accepted the terms of the AWS Customer

14 Agreement. Id. Ex. A. The Agreement requires that Parler “ensure that Your Content and your

15 and End Users’ use of Your Content or the Service Offerings will not violate any of the Policies

16 or any applicable law,” and makes clear that Parler is “solely responsible for the development,

17 content, operation, maintenance, and use of” the material on its service. Id. § 4.2; see also id.

18 § 4.5 (“You will ensure that all End Users comply with your obligations under this Agreement
19 ....”). The Agreement also requires Parler to “immediately suspend access” to content that it

20 learns violates its obligations under the Agreement. Id. § 4.5.

21            Parler further agreed to comply with AWS’s Acceptable Use Policy (“AUP”). Id. § 14;

22 see also Executive 2 Decl. ¶ 3 & Ex. C. The AUP, in turn, makes clear Parler’s agreement not to

23 use AWS to host certain content, including content that “violate[s] the rights of others, or that

24 may be harmful to others.” Id.

25            The Agreement further makes clear that AWS may suspend or terminate an account

26 “immediately” upon notice if AWS determines that an end user’s use of the services “poses a

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                Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 4 of 13




 1 security risk to the Service Offerings or any third party,” or otherwise breaches the Agreement.

 2 Id. Ex. A § 6.1(a)-(b) (suspension); id. § 7.2(b) (termination).

 3            C.        Parler Repeatedly Violates the Agreement.
 4            In mid-November 2020, AWS received reports that Parler was hosting content

 5 threatening violence, in breach of the agreement. Executive 2 Decl. ¶ 4. On November 17,

 6 2020, seeking to better understand Parler’s approach to content moderation, AWS provided

 7 Parler two representative examples, asked whether “this type of content … violate[s] [Parler’s]

 8 policies,” and asked for “more detailed information on [Parler’s] policies and processes for
 9 handling and mitigating” such content. Id. & Ex. D. Two days later, Parler responded that it had

10 referred one of the examples to its “regular contact for investigation.” Id. Ex. D.

11            Over the next seven weeks, AWS reported more than 100 additional representative pieces

12 of content advocating violence to Parler’s Chief Policy Officer, including:

13                    “Fry’em up. The whole fkn crew. #pelosi #aoc #thesquad #soros #gates

14                     #chuckschumer #hrc #obama #adamschiff #blm #antifa we are coming for you and

15                     you will know it.”

16                    “#JackDorsey … you will die a bloody death alongside Mark Suckerturd

17                     [Zuckerberg].… It has been decided and plans are being put in place. Remember

18                     the photographs inside your home while you slept? Yes, that close. You will die a

19                     sudden death!”

20                    “We are going to fight in a civil War on Jan.20th, Form MILITIAS now and

21                     acquire targets.”

22                    “On January 20th we need to start systematicly [sic] assassinating [sic] #liberal

23                     leaders, liberal activists, #blm leaders and supporters, members of the #nba #nfl

24                     #mlb #nhl #mainstreammedia anchors and correspondents and #antifa. I already

25                     have a news worthy event planned.”

26                    “Shoot the police that protect these shitbag senators right in the head then make the

27                     senator grovel a bit before capping they ass.”
     OPPOSITION TO MOTION FOR TEMPORARY
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                Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 5 of 13




 1                    “After the firing squads are done with the politicians the teachers are next.”

 2                    “Death to @zuckerberg @realjeffbezos @jackdorsey @pichai.”

 3                    “White people need to ignite their racial identity and rain down suffering and death

 4                     like a hurricane upon zionists.”

 5                    “Put a target on these motherless trash [Antifa] they aren’t human taking one out

 6                     would be like stepping on a roach no different.”

 7                    “We need to act like our forefathers did Kill [Black and Jewish people] all Leave

 8                     no victims or survivors.”

 9                    “We are coming with our list we know where you live we know who you are and

10                     we are coming for you and it starts on the 6th civil war… Lol if you will think it’s

11                     a joke… Enjoy your last few days you have.”

12                    “This bitch [Stacey Abrams] will be good target practice for our beginners.”

13                    “This cu** [United States Secretary of Transportation Elaine Chao] should be…

14                     hung for betraying their country.”

15                    “Hang this mofo [Georgia Secretary of State Brad Raffensperger] today.”

16                    “HANG THAt N***** ASAP”

17 Executive 2 Decl. ¶ 5 & Ex. E at 1-3, 6-7, 13, 17, 28, 32, 49, 53-54; see also generally id. Ex. F

18 (more examples).
19            D.        AWS Exercises Its Right to Suspend Parler’s Account.
20            On January 6, 2021, rioters supporting President Trump’s efforts to overturn President-

21 Elect Biden’s victory stormed the U.S. Capitol. Doran Decl. Exs. F-H. Five people died,

22 including a police officer. Id. Ex. I. The FBI and other law-enforcement agencies have since

23 opened at least 25 domestic terrorism cases relating to these incidents. Id.

24            Content encouraging violence continued to grow rapidly after the events of January 6,

25 and on January 8, 9, and 10, 2021, AWS reported additional examples of that content. Executive

26 2 Decl. ¶ 6. On January 8 and 9, AWS also spoke with Parler executives about its content

27 moderation policies, processes, and tools, and emphasized that Parler’s current approach failed to
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                                                                                         Seattle, WA 98104-1610
                                                                                  206.622.3150 main · 206.757.7700 fax
                Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 6 of 13




 1 address Parler’s duty to promptly identify and remove content that threatened or encouraged

 2 violence. Id. In response, Parler outlined additional, reactive steps that would rely almost

 3 exclusively on “volunteers.” Id. AWS continued to see problematic content hosted on Parler.

 4 Id. ¶ 7. During one of the calls, Parler’s CEO reported that Parler had a backlog of 26,000

 5 reports of content that violated its community standards and remained on its service. Id.

 6            On January 9, 2021, Apple and Google terminated Parler’s accounts. Doran Decl. Ex. N.

 7 The same day, AWS notified Parler it would suspend its account effective 11:59 p.m. January

 8 10. Executive 2 Decl. ¶ 7 & Dkt. 1-1.2 AWS explained it “remain[s] troubled by the repeated
 9 violations of our terms of service,” noting it had “reported 98 examples to Parler of posts that

10 clearly encourage and incite violence.” Id. Dkt. 1-1. AWS also reported the “steady increase in

11 this violent content,” making “clear that Parler does not have an effective process to comply with

12 the AWS terms of service.” Id. The email also notes Parler “remove[s] some violent content

13 when contacted by us or others, but not always with urgency,” and Parler’s proposed moderation

14 plans “will not work in light of the rapidly growing number of violent posts.” Id. The letter

15 confirms that AWS will “ensure that all of your data is preserved for you to migrate to your own

16 servers, and will work with you as best we can to help your migration.” Id.

17            That evening, Parler’s CEO posted that “[w]e should be operational within less then [sic]

18 12 hours of downtime after Amazon abruptly pulls our access.” Doran Decl. Ex. K. He also
19 posted that Parler had “prepared for events like this by never relying on amazons [sic]

20 proprietary infrastructure and building bare metal products.” Id. Ex. J.

21            Parler filed its complaint and motion for temporary restraining order January 11. Dkts. 1,

22 2. Despite speculation in the Complaint, see, e.g., Compl. (Dkt. 1) ¶ 4, Parler alleges no facts

23 that could possibly support its claims for breach of contract, tortious interference with

24 prospective economic advantage, or violations of the Sherman Act. Id. ¶ 5.

25
     Parler accuses Amazon of leaking this letter to the press before sending it to Parler. Compl.
     2

26 ¶ 21. But this is based on an erroneous assumption that that the time stamp on the email showing
   Parler received the letter reflects Pacific Time, rather than Central Time. In fact, Amazon sent
27 the letter to Parler before the press obtained the letter.
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     RESTRAINING ORDER (No. 2:21-cv-00031) - 5                                           L AW O FFICE S
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                Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 7 of 13



                                              III. ARGUMENT
 1
              A temporary restraining order is “an extraordinary and drastic remedy.” Lopez v. Brewer,
 2
     680 F.3d 1068, 1072 (9th Cir. 2012) (citation & internal quotation marks omitted); see also
 3
     Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). The standard for issuing a
 4
     temporary restraining order is “substantially identical” to the standard for issuing a preliminary
 5
     injunction. See Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th
 6
     Cir. 2001). The plaintiff must establish (1) “[it] is likely to succeed on the merits”; (2) “[it] is
 7
     likely to suffer irreparable harm in the absence of preliminary relief”; (3) “the balance of equities
 8
     tips in [its] favor”; and (4) “an injunction is in the public interest.” Winter, 555 U.S. at 20.
 9
     Failing that, even were there “serious questions going to the merits,” and there are not, a
10
     preliminary injunction may issue only “if the ‘balance of hardships tips sharply in the plaintiff’s
11
     favor,’ and the other two Winter factors are satisfied.” Shell Offshore, Inc. v. Greenpeace, Inc.,
12
     709 F.3d 1281, 1291 (9th Cir. 2013) (quoting Alliance for the Wild Rockies v. Cottrell, 632 F.3d
13
     1127, 1135 (9th Cir. 2011)). Parler has not satisfied any of these elements.
14
              A.        Parler Cannot Show A Likelihood of Prevailing on the Merits.
15
                        1.       AWS Did Not Breach the Agreement.
16
              To establish a breach of contract, a plaintiff must identify the “specific term of the
17
     contract” the defendant allegedly breached. Anderson v. Soap Lake Sch. Dist., 191 Wn.2d 343,
18
     376 (2018); see also Hard 2 Find Accessories, Inc. v. Amazon.com, Inc., 58 F. Supp. 3d 1166,
19
     1171 (W.D. Wash. 2014) (no contract claim where plaintiff failed to identify section of contract
20
     breached), aff’d, 691 F. App’x 406 (9th Cir. 2017); see also Executive 2 Decl. Ex. A §§ 13.4, 14
21
     (Washington law “govern[s] th[e] Agreement”).
22
              Parler claims AWS breached the agreement by failing to provide thirty days’ notice of
23
     termination (to be clear, AWS suspended and did not terminate the account). But it was Parler
24
     who breached the agreement, by hosting content advocating violence and failing to timely take
25
     that content down. The Agreement requires Parler to ensure that neither its content nor the
26
     content of Parler’s users violates AWS’s policies or the law. Executive 2 Decl. Ex. A § 4.2. The
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     OPPOSITION TO MOTION FOR TEMPORARY
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     RESTRAINING ORDER (No. 2:21-cv-00031) - 6                                              L AW O FFICE S
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                Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 8 of 13




 1 policies include the AUP, which prohibits “illegal” or “harmful” use, including content that

 2 “may be harmful to others,” id. § 14; id. Ex. C, and requires Parler to “immediately suspend

 3 access” if it becomes aware the content violates the agreement. Executive 2 Decl. Ex. A § 4.5.

 4 If Parler fails to comply with these duties, AWS may “immediately” suspend Parler’s account.

 5 See id. § 6.1 (a)-(b).

 6            The content AWS provided to Parler is merely representative of volumes of content that

 7 poses a security risk and harms others, in direct violation of the AUP. See id. Exs. E-F

 8 (examples). That content includes, but is not limited to, calls for violence against a wide range
 9 of individuals, including elected officials, law enforcement officers, and teachers. People have

10 acted on these calls: Parler was used to incite, organize, and coordinate the January 6 attack on

11 the U.S. Capitol. See Doran Decl. Exs. F-G. AWS reported to Parler, over many weeks, dozens

12 of examples of content that encouraged violence, including calls to hang public officials, kill

13 Black and Jewish people, and shoot police officers in the head. Executive 2 Decl. Exs. D-F.

14 Parler systematically failed to “suspend access” to this content, much less to do so immediately,

15 and demonstrated that it has no effective process in place to ensure future compliance.3

16 Executive 2 Decl. ¶ 7. Parler itself has admitted it has a backlog of 26,000 reports of content that

17 violates its (minimal) community standards that it had not yet reviewed. Id. Parler’s own

18 failures left AWS little choice but to suspend Parler’s account.
19            Parler’s Complaint is replete with insinuations that AWS had equal grounds to suspend

20 Twitter’s account and thus discriminated against Parler. For example, Parler cites the hashtag

21 “#hangmikepence,” which briefly trended on Twitter. Mot. ¶ 4. But AWS does not host

22 Twitter’s feed, so of course it could not have suspended access to Twitter’s content. Executive 1

23 Decl. ¶¶ 5, 7. Twitter has since independently blocked that hashtag. Doran Decl. Ex. L.

24

25

26
     Parler claims it removed the content AWS flagged, Compl. ¶ 29, but Parler failed to do so in a
     3

27 timely manner, or required follow up, sometimes several times, Executive 2 Decl. ¶ 5.
     OPPOSITION TO MOTION FOR TEMPORARY
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     RESTRAINING ORDER (No. 2:21-cv-00031) - 7                                         L AW O FFICE S
     4813-5403-5670v.5 0050033-000653                                            920 Fifth Avenue, Suite 3300
                                                                                   Seattle, WA 98104-1610
                                                                            206.622.3150 main · 206.757.7700 fax
                Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 9 of 13



                        2.       AWS Did Not Tortiously Interfere with Parler’s Business
 1                               Expectancies.
 2            Parler cannot plead around its contract claim by asserting a claim for tortious

 3 interference. An interference claim requires the plaintiff to establish (1) a valid contractual

 4 relationship or business expectancy; (2) the defendant had knowledge of that relationship; (3) an

 5 intentional interference inducing or causing a breach or termination of the relationship or

 6 expectancy; (4) the defendant interfered for an improper purpose or used improper means; and

 7 (5) resultant damage. Pac. Nw. Shooting Park Ass’n v. City of Sequim, 158 Wn.2d 342, 351

 8 (2006). Parler fails to allege several of these elements.
 9            First and most important, Parler bases its interference claim on its allegation that Amazon

10 “terminat[ed] Parler’s Agreement.” Compl. ¶ 51. However, where the defendant’s alleged

11 interference is the exercise of a contractual right, a plaintiff has “no reasonable expectancy” and

12 cannot assert an interference claim. Birkenwald Distrib. Co. v. Heublein, Inc., 55 Wn. App. 1,

13 10 (1989). Because the Agreement permitted Amazon to suspend Parler, Parler cannot assert a

14 tortious interference claim based on the suspension. Hein v. Chrysler Corp., 45 Wn.2d 586, 595,

15 598 (1954) (where “true gist of the action” is contract breach, courts dismiss interference claims;

16 damage “may be fully recovered by the injured party in his breach of contract action”).

17            Further, Parler has not alleged any interference was for an improper purpose or done

18 through improper means. “Improper purpose” requires that the interferor acted out of “greed,
19 retaliation, or hostility,” Elcon Constr., Inc. v. E. Wash. Univ., 174 Wn.2d 157, 169 (2012), and

20 “wrongful means” requires the alleged interference be “wrongful by some measure beyond the

21 fact of the interference itself,” Pleas v. City of Seattle, 112 Wn.2d 794, 804 (1989) (citation &

22 internal quotation marks omitted). Parler speculates that AWS suspended Parler’s account for

23 improper reasons, but that speculation elides entirely the fact that (as AWS repeatedly warned it)

24 Parler repeatedly violated the Agreement. Supra at III.A.1.

25                      3.       AWS Did Not Violate the Sherman Act.
26            Plaintiff’s Complaint fails to plead the most basic elements of a Section 1 claim. “§1

27 requires: (1) a ‘contract, combination or conspiracy among two or persons or distinct business
     OPPOSITION TO MOTION FOR TEMPORARY
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     RESTRAINING ORDER (No. 2:21-cv-00031) - 8                                            L AW O FFICE S
     4813-5403-5670v.5 0050033-000653                                               920 Fifth Avenue, Suite 3300
                                                                                      Seattle, WA 98104-1610
                                                                               206.622.3150 main · 206.757.7700 fax
               Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 10 of 13




 1 entities’; (2) which is intended to restrain or harm trade; (3) ‘which actually injures competition’;

 2 and (4) harm to the plaintiff from the anticompetitive conduct.” NameSpace Inc. v. Internet

 3 Corp. for Assigned Names and Numbers, 795 F.3d 1124, 1130 (9th Cir. 2015).

 4            As the Supreme Court held in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), a

 5 plaintiff claiming a Section 1 violation must plead “enough factual matter (taken as true) to

 6 suggest that an agreement was made.” Id. at 556-57; Insulate SB Inc., v. Advanced Fishing

 7 Systems Inc. et al., 797 F. 3d 538, 544-46 (8th Cir. 2015) (applying same principles to vertical

 8 agreements). But Parler does not even claim Twitter and AWS communicated about Parler,
 9 much less formed an agreement. Nor could it, as a senior AWS executive testified AWS did not

10 authorize and is not aware of such communications. Executive 1 Decl. ¶ 8. The Complaint

11 alleges only that Amazon has agreed to provide cloud infrastructure to deliver Twitter feeds, see

12 Compl. ¶¶ 15-16, and then asserts that “AWS is violating Section 1 of the Sherman Antitrust Act

13 in combination with Defendant [sic] Twitter.” Id. ¶ 5. As Twombly holds, this does not suffice

14 to survive a motion to dismiss: “[A] conclusory allegation of agreement at some unidentified

15 point does not supply facts adequate to show illegality.” 550 U.S. at 557.

16            Further, “[f]ollowing Twombly, courts dismiss Section 1 complaints when there is an

17 independent business justification for the observed conduct and no basis for rejecting it as the

18 explanation for the conduct.” In re McCormick & Co. Inc., 217 F. Supp. 3d 124, 132-34 (D.D.C.
19 2016) (granting motion to dismiss based on Twombly, citing other cases); see also Souza v.

20 Estate of Bishop, 821 F.2d 1132, 1335 (9th Cir. 1987) (Where there is an “understandable and

21 legitimate business reason” for each defendant’s conduct, plaintiff fails to state a Section 1

22 claim). Here, not only does AWS have a legitimate business reason to suspend Parler’s account,

23 but that reason—keeping content that violates its agreement with customers off its servers—is

24 the only plausible conclusion. To be clear, AWS has no incentive to stop doing business with

25 paying customers that comply with its agreements. Parler failed to meet that obligation, and fails

26 to state a claim for an antitrust violation, much less to show a likelihood of prevailing on the

27 merits of its antitrust claim.
     OPPOSITION TO MOTION FOR TEMPORARY
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     RESTRAINING ORDER (No. 2:21-cv-00031) - 9                                          L AW O FFICE S
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                                                                                    Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax
               Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 11 of 13




 1            Parler’s antitrust allegations fail also because they do not even plead the basic

 2 requirements of a Sherman Act claim, such as how competition is harmed, NYNEX Corp. v.

 3 Discon, Inc., 525 U.S. 128, 135 (1998), the relevant product and geographic markets, Tanaka v.

 4 Univ. of S. Cal., 252 F.3d 1059, 1063 (9th Cir. 2001), the share of those markets enjoyed by

 5 AWS, Rick-Mik Enters., Inc. v. Equilon Enters. LLC, 532 F.3d 963, 972-73 (9th Cir. 2008), and

 6 others. This is especially important where, as here, Parler freely admits that it has access to

 7 numerous potential web-hosting service providers—not claimed to be involved in or restrained

 8 by the alleged conspiracy—with whom Parler can freely contract. See Compl. ¶ 23. Those
 9 alternatives alone preclude Parler from stating a plausible claim for relief. See Omega Envtl.,

10 Inc. v. Gilbarco, Inc., 127 F.3d 1157, 1162-64 (9th Cir. 1997).

11                      4.       Section 230 Bars Interference and Antitrust Claims.
12            In addition to their facial deficiencies, Parler’s interference and antitrust claims also fail

13 under Section 230(c)(2) of the Communications Decency Act. Under that statute, the provider of

14 an “interactive computer service” is immune for acting in good faith to restrict access to material

15 that is excessively violent, harassing, or otherwise objectionable. Barnes v. Yahoo!, Inc., 570

16 F.3d 1096 1105 (9th Cir. 2009) (citing 47 U.S.C. § 230(c)(2)). That is precisely what AWS did

17 here: removed access to content it considered “excessively violent” and “harassing[.]” 47

18 U.S.C. § 230(c)(2)(A); see Zango, Inc. v. Kaspersky Lab, Inc., 2007 WL 5189857, at *4 (W.D.
19 Wash. Aug. 28, 2007) (assessment of objectionable content is subjective to the provider), aff’d,

20 568 F.3d 1169 (9th Cir. 2009); Holomaxx Techs. v. Yahoo!, Inc., 2011 WL 865794, at *5 (N.D.

21 Cal. Mar. 11, 2011) (same).4

22

23   4
      Parler’s antitrust and interference claims are also barred by § 230(c)(1). See, e.g., Riggs v.
     MySpace, Inc., 444 F. App’x 986, 987 (9th Cir. 2011) (Section 230(c)(1) immunizes “decisions
24   to delete [plaintiff’s] user profiles”); Fed. Agency of News LLC v. Facebook, Inc., 432 F. Supp.
25   3d 1107, 1116-21 (N.D. Cal. 2020) (dismissing claims based on removal of plaintiff’s account,
     postings, and content); Mezey v. Twitter, Inc., 2018 WL 5306769, at *1 (S.D. Fla. July 19, 2018)
26   (dismissing plaintiff’s claims that Twitter unlawfully suspended his account); Dipp-Paz v.
     Facebook, 2019 WL 3205842, at *3 (S.D.N.Y. July 12, 2019) (Section 230 bars claims arising
27   from suspension of plaintiff’s Facebook account).
     OPPOSITION TO MOTION FOR TEMPORARY
                                                                                    Davis Wright Tremaine LLP
     RESTRAINING ORDER (No. 2:21-cv-00031) - 10                                              L AW O FFICE S
     4813-5403-5670v.5 0050033-000653                                                  920 Fifth Avenue, Suite 3300
                                                                                         Seattle, WA 98104-1610
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               Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 12 of 13



              B.        The Balance of Equities and Public Interest Disfavor an Injunction.
 1
              To obtain injunctive relief, a plaintiff also “must establish that ‘the balance of equities
 2
     tips in [its] favor.’” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1138 (9th Cir. 2009) (quoting
 3
     Winter, 555 U.S. at 20). “The less certain … the likelihood of success on the merits, the more
 4
     plaintiffs must convince the district court that the public interest and balance of hardships tip in
 5
     their favor.” Sw. Voter Registration Educ. Project v. Shelley, 344 F.3d 914, 918 (9th Cir. 2003).
 6
     Courts also must consider whether the relief would adversely affect the rights of nonparties or
 7
     the public. See Winter, 555 U.S. at 26.
 8
              The hardships on AWS and the public from an injunction would far outweigh any
 9
     speculative damage Parler claims it may suffer from a short interruption of its service.
10
              First, compelling AWS to host Parler content would threaten the safety of individuals.
11
     This risk is not speculative. The violence at the U.S. Capitol was assisted by content posted by
12
     Parler users. See, e.g., Doran Decl. Ex. F (sites including Parler used to provide “directions on
13
     which streets to take to avoid the police and which tools to bring to help pry open doors”).
14
     Forcing Amazon to host such content poses further risk, including at the inauguration next week.
15
     Such a requirement also poses a risk to Amazon itself, with posts calling for others to “burn
16
     down Amazon delivery trucks” until they “reverse course.” Executive 2 Decl. Ex. F. By
17
     suspending Parler’s account, AWS seeks to prevent illegal and violent acts from being
18
     coordinated using AWS’s resources—a right the Agreement secures.
19
              Second, any injunction would impair AWS’s ability to take swift action against
20
     customers who misuse its services to promote violence. Requiring AWS to allow services like
21
     Parler to remain active through weeks or months of court proceedings would heighten the risk of
22
     violence and harm to the public.
23
              Finally, Parler’s allegations of harm contradict its own public statements. Parler’s CEO
24
     has assured users that Parler “prepared for events like [the termination] by never relying on
25
     amazons [sic] proprietary infrastructure,” that the site will be fully operational “with less then
26
     [sic] 12 hours of downtime” after termination, and that Parler has “many [companies] competing
27
     OPPOSITION TO MOTION FOR TEMPORARY
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               Case 2:21-cv-00031-BJR Document 10 Filed 01/12/21 Page 13 of 13




 1 for [its] [hosting] business.” Doran Decl. Exs. J-K. Accordingly, the balance of the equities and

 2 public interest weigh strongly against the issuance of any injunction.

 3            C.        Parler Has Failed to Show It Will Suffer Irreparable Harm Absent an
                        Injunction.
 4
              A TRO is also not warranted because Parler has not shown irreparable harm is likely.
 5
     Alliance for the Wild Rockies, 632 F.3d at 1131. Irreparable harm is “harm which cannot be
 6
     redressed by a legal or an equitable remedy following trial.” Campbell Soup Co. v ConAgra,
 7
     Inc., 977 F.2d 86, 91 (3rd Cir. 1992) (citation & internal quotation marks omitted). Monetary
 8
     harm is not “irreparable” injury. L.A. Mem’l Coliseum Comm’n, 634 F.2d at 1202.
 9
              Parler has not identified irreparable harm. AWS has promised to preserve Parler’s data
10
     and help Parler migrate its services elsewhere. Dkt. 1-1. Parler’s CEO has acknowledged that
11
     the service never has relied on AWS exclusively. Doran Decl. Ex. J. He also told Parler users
12
     that the service may be operational within twelve hours of AWS’s suspension of Parler’s
13
     account. Id. Ex. K. A temporary service interruption is not irreparable harm, and any alleged
14
     harm would be compensable by damages.
15
                                            IV. CONCLUSION
16
              Because Parler has not met the exceptionally high standard for a TRO, AWS respectfully
17
     asks the Court to deny Parler’s motion.
18
              DATED this 12TH day of January, 2021.
19
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